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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 WESTERN DISTRICT OF OKLAHOMA


WILLIAM DIAZ,                            )
                                         )
                   Plaintiff,            )
                                         )
-vs-                                     )     Case No. CIV-14-821-F
                                         )
OKLAHOMA BUREAU OF                       )
NARCOTICS AND DANGEROUS                  )
DRUGS CONTROL,                           )
                                         )
                   Defendant.            )


                                 JUDGMENT

       This action was tried before the court and a jury, Stephen P. Friot, District
Judge, presiding. The jury rendered a verdict in favor of the plaintiff, William
Diaz, and against the defendant, Oklahoma Bureau of Narcotics and Dangerous
Drugs Control, in the amount of $13,800.00 as damages for lost wages and
benefits, and in the amount of $220,000.00 as compensatory damages for
emotional pain and mental anguish or other non-pecuniary losses. In addition, the
court has determined that plaintiff is entitled to an award of $27,757.20 in front
pay. Thus, plaintiff’s total damage award is $261,557.20.
       IT IS HEREBY ORDERED AND ADJUDGED that judgment is entered in
favor of the plaintiff, William Diaz, and against the defendant, the Oklahoma
Bureau of Narcotics and Dangerous Drugs Control, in the amount of $261,577.20;
       IT IS FURTHER ORDERED AND ADJUDGED that the plaintiff recover
post-judgment interest from today’s date as the date of entry of the judgment
pursuant to 28 U.S.C. § 1961(a), at the rate of .85 percent per annum; and
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        IT IS FURTHER ORDERED AND ADJUDGED that the plaintiff recover
his costs of this action.
        Dated at Oklahoma City, Oklahoma, this 3rd day of January, 2017.




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